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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


UNITED STATES OF AMERICA,
                                                                      No. 09 CR 669-4
                 v.                                                 Judge James B. Zagel

FRANCISCO ESPINOZA.


                         MEMORANDUM OPINION AND ORDER

         Francisco Espinoza was convicted of a drug offense. He worked with, and for, an

organization run by the Flores twins. Espinoza picked up money, counted it, stored it, packaged

it, reported the amount to the Flores twins, and arranged for its transport to Mexico where it

would pay for new supplies of narcotics to be sold in the U.S. The haul was four to ten million

dollars every ten days. Defendant packaged more than $100,000,000 in his work and was paid

$10,000 to $20,000 a month.

         His sentence was 108 months in prison which was sub-guideline. The guideline was

135 months. As is well understood, the Amendment (782) permitted reduction of some

sentences. Espinoza seeks such a reduction. There are restrictions which preclude a lowered

sentence. The guideline level of 38 months is not reduced. The amount of cocaine he dealt with

was very large, much higher than the minimum of 450 kilograms for level 38. In simple terms,

Espinosa’s guideline is still level 38. His guideline range is not reduced by Amendment.

Moreover, if it were in my discretion simply to reduce sentence, I would not do so. The sentence

imposed was more than two years below guideline. The fair sentence in this case was, and is, the

bottom of guideline already two steps down from the correct guideline of 135-168 months.




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       The motion to reduce sentence imposed is denied.

                                                ENTER:




                                                James B. Zagel
                                                United States District Judge

DATE: May 6, 2015




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